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                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

JAMES HOSKINS                                    )
9101 Canal Way                                   )   Case No: 1:12-cv-516
West Chester, Ohio 45069,                        )
                                                 )   JURY DEMAND REQUESTED
                 Plaintiff,                      )
                                                 )   CIVIL COMPLAINT
v.
                                                 )   (Unlawful Debt Collection Practices)
                                                 )
COMMERCIAL RECOVERY                              )
SYSTEMS, INC.                                    )
c/o Tim Ford, President & CEO                    )
8035 E. RL Thornton, Suite #220                  )
Dallas, Texas 75228                              )
                                                 )
                 Defendant.                      )

                                       COMPLAINT

       PLAINTIFF James Hoskins, by his attorneys, KAHN AND ASSOCIATES,
L.L.C., alleges the following against DEFENDANT COMMERCIAL RECOVERY
SYSTEMS, INC.:

                                     INTRODUCTION

     1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

         U.S.C. 1692 et seq. (FDCPA).

                              JURISDICTION AND VENUE

      2. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

         such actions may be brought and heard before “any appropriate United States

         district court without regard to the amount in controversy,” and 28 U.S.C. 1367

         grants this court supplemental jurisdiction over the state claims contained therein.

      3. Because Defendant conducts business in Ohio, personal jurisdiction is

         established.

      4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).
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                                     PARTIES

 5. Plaintiff is a natural person who resides in the City of West Chester, Butler

    County, Ohio and is allegedly obligated to pay a debt, and Plaintiff is a

    “consumer” as that term is defined by 15 U.S.C. 1692a(3).

 6. Pursuant to the definitions outlined in 15 U.S.C. 1692a(1-6),Defendant is a debt

    collector and sought to collect a consumer debt from Plaintiff which was

    allegedly due and owing from Plaintiff, and Plaintiff is a consumer debtor.

 7. Defendant is a Texas business entity and a debt collector with an office in Dallas,

    Texas.

 8. Defendant uses instrumentalities of interstate commerce or the mails in a

    business the principal purpose of which is the collection of any debts, and/or

    regularly collects or attempts to collect, directly or indirectly, debts owed or due

    or asserted to be owed or due another and is a "debt collector" as that term is

    defined by 15 U.S.C. § 1692a(6).

 9. Defendant is a collection agency that in the ordinary course of business,

    regularly, on behalf of itself or others, engages in debt collection.

                          FACTUAL ALLEGATIONS

 10. Defendant is seeking to collect an allegedly owed and due consumer obligation

    that Plaintiff disputes he lawfully owes.

 11. Plaintiff receives calls from Defendant at telephone number: 513-520-2721.

    Defendant places calls to Plaintiff from telephone number: 800-214-7816.

 12. In order to verify that the phone calls he was receiving were, in fact, from

    Defendant, in May 2012, Plaintiff called the telephone number listed on
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     Defendant’s website (214-324-9575) and spoke to an agent of Defendant’s

     identifying himself as “John Mitchell.” Mitchell confirmed that Defendant has

     placed calls to Plaintiff and that Plaintiff has an account with Defendant.

  13. Mitchell, acting on behalf of the Defendant, threatened that Defendant would

     seize the Plaintiff’s home and that it would freeze Plaintiff’s bank accounts when,

     upon information and belief, Defendant had no lawful and immediate right to

     seize Plaintiff’s home or bank accounts and had no present intention of

     undertaking such action, and thus such statements were misrepresentative and

     deceptive and were made for purposes of attempting to coerce or harass the

     Plaintiff into paying the alleged debt.

  14. During the course of the communication with Plaintiff, Mitchell claimed to have a

     case number for a lawsuit filed against the Plaintiff. Upon information and belief,

     at the time Mitchell made this claim, no such lawsuit had been filed against

     Plaintiff, and thus such statements were misrepresentative and deceptive and were

     made for purposes of attempting to coerce or harass the Plaintiff into paying the

     alleged debt.

                                       COUNT I

DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

  15. Defendant violated the FDCPA based on the following:

           a. Defendant violated §1692d by engaging in conduct the natural

                consequence of which is to harass, oppress, or abuse any person in

                connection with the collection of a debt.

           b.    Defendant violated §1692e by using any false, deceptive, or
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                misleading representation or means in connection with the collection of

                a debt.

             c. Defendant violated §1692e(2)(A) by the false representation of the

                character, amount, or legal status of a debt.

             d. Defendant violated §1692e(4) by the representation or implication that

                nonpayment of any debt will result in the seizure, garnishment,

                attachment, or sale of any property or wages of any person unless such

                action is lawful and the debt collector or creditor intend to take the

                action.

             e. Defendant violated §1692e(5) by threatening to take any action that

                cannot be legally taken or is not intended to be taken.

             f. Defendant violated §1692f by using any unfair or unconscionable means

                to collect or attempt to collect a debt.

             g. Defendant violated §1692f(6)(B) by threatening to take any non-judicial

                action to effect dispossession or disablement of property when there is

                no present intention to take possession of the property.

       WHEREFORE, Plaintiff, James Hoskins, respectfully requests judgment be

entered against Defendant, for the following:

   16. Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices

       Act, 15 U.S.C. 1692k,

   17. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection

       Practices Act, 15 U.S.C. 1692k

   18. Any other relief that this Honorable Court deems appropriate.
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                          DEMAND FOR JURY TRIAL

    Plaintiff, James Hoskins, requests a jury trial in this case.

                                       Respectfully submitted,

                                       KAHN & ASSOCIATES, LLC

                                        /s/ J. Daniel Scharville

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